                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


     FARM LABOR ORGANIZING                      )
     COMMITTEE,                                 )
     VICTOR TOLEDO VENCES, and                  )
     VALENTIN ALVARADO                          )
     HERNANDEZ,                                 )
                                                )
     Plaintiffs,                                )
                                                )   Civil Action No.
     v.                                         )
                                                )
     ROY COOPER, in his official                )
     capacity as Governor of the                )
     State of North Carolina, and               )
     MARION R. WARREN, in his                   )
     official capacity as Director of the       )
     North Carolina Administrative              )
     Office of the Courts,                      )
                                                )
     Defendants.                                )


       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

                           NATURE OF THE ACTION

     1.    This action challenges Section 20.5 of North Carolina General

Assembly Session Law 2017-108 (also known as “the Farm Act”) which was

signed into law by Defendant Governor Roy Cooper on July 12, 2017. The Farm

Act targets North Carolina’s overwhelmingly Latino and immigrant farmworker


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community by stripping them of two significant legal rights enjoyed by all other

workers in the state. First, the Act mandates that agreements by agricultural

employers to administer payroll union dues deductions requested by employees

(commonly known as “dues checkoff” agreements) shall be invalid and

unenforceable. Second, the Act declares that settlement agreements that include a

stipulation that an agricultural employer will recognize or enter into an agreement

with a union shall be invalid and unenforceable.1

         2.     The Farm Act obstructs free expression and free association

guaranteed by the First Amendment to the Constitution for over 100,000

farmworkers in North Carolina, including Plaintiffs Victor Toledo Vences and

Valentin Alvarado Hernandez and their labor union, Plaintiff Farm Labor



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    Section 20.5 of the Farm Act amended N.C. Gen. Stat. § 95-79(b), to add the underlined

text:

         (b) Any provision that directly or indirectly conditions the purchase of
         agricultural products, products or the terms of an agreement for the
         purchase of agricultural products, or the terms of an agreement not to sue or
         settle litigation upon an agricultural producer’s status as a union or
         nonunion employer or entry into or refusal to enter into an agreement with
         a labor union or labor organization is invalid and unenforceable as against
         public policy in restraint of trade or commerce in the State of North
         Carolina. Further, notwithstanding G.S. 95-25.8, an agreement requiring an
         agricultural producer to transfer funds to a labor union or labor organization
         for the purpose of paying an employee’s membership fee or dues is invalid
         and unenforceable against public policy in restraint of trade or commerce in
         the State of North Carolina.

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Organizing Committee (FLOC). The Farm Act also violates the Fourteenth

Amendment and 42 U.S.C. § 1981 by discriminatorily revoking contractual rights

and privileges from a workforce that is overwhelmingly comprised of Latino non-

citizens and a union with a membership comprised largely of workers from Mexico

working under the H-2A temporary agricultural visa program (“guestworkers”).

Additionally, the Farm Act is an unconstitutional Bill of Attainder because it

legislatively singles out and punishes FLOC for its organizing activity.

      3.     In light of ongoing and imminent irreparable harm, Plaintiffs

respectfully request preliminary and permanent injunctive relief to ensure that: (1)

all Plaintiffs can continue to seek and benefit from voluntary payroll dues

deduction agreements with agricultural employers; and (2) Plaintiff FLOC and its

members can enter into and benefit from settlement agreements with agricultural

employers.


                              JURISDICTION AND VENUE

      4.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1331 because this case arises under the U.S. Constitution and laws of the United

States; and pursuant to 28 U.S.C. § 1343 because this action seeks to redress the

deprivation, under color of state law, of Plaintiffs’ civil rights, and to secure

equitable or other relief for the violation of those rights.


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      5.      This Court has jurisdiction to grant declaratory relief pursuant to 28

U.S.C. §§ 2201 and 2202, as well as Rule 57 of the Federal Rules of Civil

Procedure.

      6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and

(c). Plaintiff FLOC regularly engages in expressive and associative activities,

including union organizing and administering collective bargaining agreements, in

this District. Many of FLOC’s members live and/or work in this District each year.

During the agricultural season immediately preceding this lawsuit, Plaintiff Victor

Toledo Vences, a farmworker and member of FLOC, lived, worked, and had his

union dues deducted from payroll administered in this District. During the

agricultural season immediately preceding this lawsuit, Plaintiff Valentin Alvarado

Hernandez, a farmworker and member of FLOC, lived, worked, and had his union

dues deducted from payroll administered in this District. Accordingly, a substantial

part of the events and omissions giving rise to Plaintiffs’ claims have occurred

and/or will occur in this District.

      7.      Defendant Roy Cooper, (“Defendant Cooper” or “Governor Cooper”)

is sued in his official capacity, executes the law and administers the government

throughout the state, is domiciled in the state, and is subject to the personal

jurisdiction of this Court.



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      8.     Defendant Marion R. Warren (“Defendant Warren”) is sued in his

official capacity, administers courts throughout the state, is domiciled in the state,

and is subject to the personal jurisdiction of this Court.


                                         PARTIES

                                          Plaintiffs

      9.     Plaintiff FLOC is a farmworker labor union classified under Section

501(c)(5) of the Internal Revenue Code. Founded in 1967, FLOC’s goals are to

ensure that farmworkers have a voice in decisions that affect them in the workplace

and in their communities and to bring all participants in the agricultural supply

chain together to improve working conditions for farmworkers. FLOC currently

administers collective bargaining agreements covering about 10,000 farmworkers

in North Carolina and is actively organizing to increase its membership and pursue

new collective bargaining agreements throughout the state. FLOC currently

maintains offices in Dudley, North Carolina; Toledo, Ohio; and Monterrey, in the

state of Nuevo León, Mexico.

      10.    Plaintiff Victor Toledo Vences lived and worked on a farm in Durham

County, North Carolina during the 2017 agricultural season immediately preceding

the filing of this suit. Plaintiff Toledo Vences is a Mexican national and works in

North Carolina under an agricultural “guestworker” visa authorized by 8 U.S.C. §



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1101(a)(15)(H)(ii)(a), commonly referred to as an “H-2A visa.” For nearly twenty

years, Mr. Toledo Vences has worked in North Carolina vegetable and tobacco

growing operations for several months out of each year. Plaintiff Toledo Vences is

a member of FLOC and, since 2005, has authorized his North Carolina employers

to deduct weekly dues of 2.5% of his earnings from his pay and to transfer such

dues directly to FLOC. Having successfully completed this season’s work, Plaintiff

Toledo Vences plans to exercise his right to return to North Carolina to work in

future agricultural seasons, a right guaranteed by the collective bargaining

agreement between FLOC and the North Carolina Growers’ Association. Plaintiff

Toledo Vences wants to maintain his FLOC membership by authorizing his

employers to deduct union dues from his wages and transfer these dues directly to

FLOC.

      11.    Plaintiff Valentin Alvarado Hernandez lived and worked on a farm in

Stokes County, North Carolina during the 2017 agricultural season immediately

preceding the filing of this suit. Plaintiff Alvarado Hernandez is a Mexican

national and has works in North Carolina under an H-2A visa. For the past three

years, Mr. Alvarado Hernandez has worked in North Carolina vegetable and/or

tobacco growing operations for several months out of each year. Plaintiff Alvarado

Hernandez is a member of FLOC and, since 2016, has authorized his North

Carolina employers to deduct weekly dues of 2.5% of his earnings from his pay

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and to transfer such dues directly to FLOC. Having successfully completed this

season’s work, Plaintiff Alvarado Hernandez plans to exercise his guaranteed right

to return to North Carolina to work in future agricultural seasons. Plaintiff

Alvarado Hernandez wants to maintain his FLOC membership by authorizing his

employers to deduct union dues from his wages and transfer these dues directly to

FLOC.


                                        Defendants

      12.    Defendant Cooper is sued in his official capacity as the Governor of

North Carolina. Governor Cooper signed the Farm Act, including the provisions

challenged in this action, into law on July 12, 2017. Pursuant to Article III, Section

1 of the State Constitution, “the executive power of the State” is vested in

Defendant Cooper in his capacity as Governor. Article III, Section 5(4) also

provides that it is the duty of Defendant Cooper in his capacity as Governor to

“take care that the laws be faithfully executed.” Governor Cooper is a person

within the meaning of 42 U.S.C. § 1983 and was acting under color of state law at

all times relevant to this complaint.

      13.    Defendant Warren is sued in his official capacity as the Director of the

North Carolina Administrative Office of the Courts (NCAOC). Pursuant to N.C.

Gen. Stat. § 7A-343(3a)(c), the Director’s duties include “ensur[ing] overall


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compliance with federal and State laws” in the court system. Defendant Warren is

a person within the meaning of 42 U.S.C. § 1983 and was acting under color of

state law at all times relevant to this complaint.


                               FACTUAL ALLEGATIONS


Farmworkers in North Carolina

      14.    Agricultural producers in North Carolina rely on the labor of an

estimated 100,000 or more workers per year. Many of the state’s major crops, such

as tobacco, Christmas trees, and sweet potatoes, require significant manual labor to

plant, tend, harvest, and pack.

      15.    Despite the critical role farmworkers play in the state’s economy, they

are among the lowest paid workers in the state. In the most recent National

Agricultural Worker Survey (conducted in 2013-2014), half of U.S. farmworkers

surveyed reported an average family annual income of less than $25,000 per year.

Incomes have typically been lower in the eastern United States. In 2005, the

average annual farmworker earnings for the region were only $7,150.

      16.     Because agricultural work is seasonal and farmworkers are

commonly paid for their work on a piece rate basis, earnings are often inconsistent

and sporadic. Farmworker families face high rates of poverty and hunger. Nearly

one-third of farmworker families surveyed nationally report living below the


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poverty line and almost half of North Carolina farmworker households are food

insecure.

      17.    Agricultural work is consistently ranked among the most dangerous

jobs in the nation, with high rates of work-related injury, heat-related illness, and

exposure to toxic chemicals like pesticides.

      18.    North Carolina leads all other states in the production of tobacco.

Nicotine exposure is a significant concern for farmworkers working in tobacco.

One quarter of tobacco workers in North Carolina experience green tobacco

sickness, with symptoms of headache, dizziness, nausea/vomiting, insomnia, and

anorexia each year.

      19.    Substandard living conditions in migrant labor camps, where most

North Carolina farmworkers live, also cause health issues. Overcrowding, unsafe

drinking water, structural deficiencies, rodent and pest infestations, and poor

sanitation are documented problems in farmworker housing. Studies in North

Carolina show that only 11% of farmworker camps investigated met state migrant

housing standards. Farmworkers in North Carolina often live in housing that is

isolated from community services and hidden from public view.

      20.    Over 90% of North Carolina farmworkers are of Hispanic/Latino

descent. Most of North Carolina’s farmworkers are of Mexican national origin and

speak Spanish as their first language.

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      21.     In contrast to their employees, over 90% of individuals who operate

North Carolina agricultural entities identify themselves as white.

      22.     A large majority of North Carolina’s farmworkers were born outside

of the United States, and many are not United States citizens. In fiscal year 2017,

North Carolina agricultural producers received permission to employ over 17,000

H-2A guestworkers. In 2014, North Carolina was the state with the highest number

of jobs certified for H-2A visas.

      23.     H-2A farmworkers have suffered significant abuses and are highly

vulnerable to exploitation. H-2A workers may be forced to pay illegal recruitment

fees in their home country in order to be considered for employment. When they

encounter poor or illegal working conditions, H-2A workers are unable to pursue

other employment in the United States because their visas do not permit them to

work for an employer other than their visa sponsor. Many face obstacles returning

to work on another H-2A visa in the future if they have to leave their employment

before the end of the contract for reasons related to illness or injury, or because of

family issues in their home country, or if they complain about problems in the

workplace.

      24.     Farmworkers have historically been, and continue to be, excluded

from many basic labor protections at the state and federal level. When the federal

Fair Labor Standards Act, Social Security Act, and National Labor Relations Act

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were enacted in the 1930s, farmworkers were excluded from most of the

protections afforded by these laws. They remain excluded from many of those

protections today.

      25.     In North Carolina, farmworkers are substantially excluded from state

minimum wage, overtime, workers’ compensation, and youth employment laws.

      26.     There is ample historical evidence that these exclusions were

motivated, at least in part, by legislators’ awareness that substantial portions of the

excluded workforce were African American. Many of these racially-motivated

exclusions were maintained as North Carolina’s agricultural workforce became

predominantly Latino.


FLOC’s Work in North Carolina

      27.     Plaintiff FLOC is a farmworker union of approximately 6,000 dues-

paying members nationwide, around 80% of whom work in North Carolina. For

over twenty years, FLOC has been the only union organizing and representing

farmworkers in North Carolina.

      28.     In addition to its core work of organizing farmworkers to achieve a

voice in their workplace and better working conditions, FLOC participates in

general advocacy for the rights and well-being of farmworkers and their families,

including advocacy for the rights of Latino immigrants in the state and nation. For


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example, FLOC members have participated in visits to Washington, DC to

advocate for immigration reform, as well as marches, rallies, and other public

actions in North Carolina in support of immigrants’ and workers’ rights. FLOC

regularly holds community meetings and events in North Carolina to educate and

facilitate dialogue on issues such as: improving relations between immigrant

communities and local police; workplace rights; financial aid and scholarships

available to college-bound youths; and access to immigration relief such as

Deferred Advocacy for Childhood Arrivals (DACA).

      29.     FLOC works towards its goals by organizing workers to achieve

collective bargaining agreements (CBAs) with agricultural producers in the state,

under which farmworkers will be guaranteed certain wages, working conditions,

and fair alternative dispute mechanisms for resolving workplace grievances and

disputes.

      30.     FLOC also publicly engages with the major economic interests at the

top of the industry supply chain, such as international tobacco corporations, to

convince them to adopt business practices that are fair to both agricultural

producers and farmworkers.

      31.     The vast majority of FLOC’s dues-paying North Carolina members

are H-2A guestworkers from Mexico who come to North Carolina each year for up



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to ten months to perform seasonal agricultural work. Most of North Carolina’s H-

2A workers work in tobacco, Christmas trees, and sweet potatoes.

      32.     FLOC has been organizing in North Carolina since the 1990s. For

more than ten years, it has maintained an office located in Dudley, North Carolina.

      33.     FLOC currently has two CBAs with agricultural producers in the

state; these CBAs cover approximately 10,000 workers. One of FLOC’s CBAs is

with the North Carolina Growers’ Association (NCGA), which is comprised of

approximately 700 member farms throughout the state. In 2017, NCGA sponsored

approximately 60% of the H-2A visas under which H-2A workers work in the

state. More than 90% of the FLOC members covered under the CBA with the

NCGA are H-2A guest workers.

      34.     Farmworkers are exempted from the federal National Labor Relations

Act. There is no federal or state law requiring union elections, nor any other law

that requires mandatory recognition of farmworker unions. Therefore, all CBAs

existing between FLOC and agricultural employers in North Carolina are entered

into on an entirely voluntary basis.

      35.     The CBAs provide significant benefits for the farmworkers covered

by the agreements, such as guaranteed hourly wages, an orderly and fair process

for recruitment and hiring, and a grievance procedure. The CBAs specifically

provide that a worker who satisfactorily completes his or her term of employment

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for an agricultural producer has a right to return the following season. This

stipulation reduces the likelihood that workers will be retaliated against for

complaining about unsafe or illegal working conditions. The recruitment process

established by the CBAs has also largely eliminated the illegal practice of H-2A

guestworkers being charged recruitment fees for access to jobs in North Carolina.

      36.      The CBAs also provide significant benefits for agricultural producers,

including ensuring consistent employment practices among a large group of

agricultural producers (thereby reducing incentives to engage in unfair competitive

practices like underpaying workers); and a grievance procedure and binding

alternative dispute mechanisms (minimizing the potential for costly litigation).

      37.      FLOC has pursued and secured CBAs and other improvements to

farmworker conditions through various strategies, including public campaigns

engaging major industry actors like tobacco corporations, and assisting its

members in bringing well-publicized litigation to challenge illegal employment

practices.

      38.      On occasion, FLOC has also participated in lawsuits as a party to

pursue legal issues of importance to its members, such as in a case addressing

whether the federal Department of Labor properly reinstated regulations governing

minimum wages for H-2A guestworkers. Lawsuits in which FLOC participates, or

which FLOC assists its members in bringing by providing legal referrals, are meant

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to achieve tangible gains for FLOC’s members and also to educate the public about

the working conditions confronted by farmworkers.

      39.     As part of an agreement to settle litigation over employment issues,

some FLOC members have negotiated for voluntary union recognition or secured

expanded collective bargaining rights as part of a class-wide settlement agreement.

In one such case, the defendant employer and the plaintiff farmworkers agreed that

it was in their mutual interest to resolve the case in an agreement that included:

employer recognition of FLOC as the bargaining representative of workers who

sign cards affirming their FLOC membership; an employer pledge to remain

neutral on unionization matters in its workforce; dues checkoffs; a guaranteed

hourly wage of $11.27/hour (increased from a prior wage of $8 per hour);

worker/employer committees to address safety issues, worker housing, and

employer competitiveness; and adoption of a binding alternative dispute

mechanism for resolving workplace disputes.

      40.     Of FLOC’s two active CBAs in the state, one is due to expire in

November 2019 and the other in December 2020.

      41.     During the period covered by a CBA, FLOC must actively administer

the CBAs throughout the state. Administration duties include: monitoring and

assisting covered workers with the recruitment process in Mexico; monitoring

agricultural producers’ compliance with the CBAs; assisting members and other

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affected workers with understanding the CBA terms and their rights under the

CBA; training workers on their rights and FLOC’s organizing efforts; and assisting

covered workers in filing and pursuing grievances.

      42.     In addition, FLOC provides other significant assistance to its

members, including assisting injured workers and their families in filing workers’

compensation or other claims for benefits, assisting workers and their families in

obtaining legal counsel for immigration or employment matters, and assisting with

repatriation of the remains of H-2A guestworkers who pass away while working in

the United States.

      43.     Even as FLOC administers CBAs and assists its members, it is

constantly seeking to organize new members in order to strengthen its members’

bargaining power, improve conditions at farms not currently covered by CBAs,

and raise standards for farmworkers throughout the industry.

      44.     Given its small staff and limited resources, FLOC faces significant

logistical challenges in its statewide CBA administration and organizing work. H-

2A workers, as well as many other migrant farmworkers, typically live in isolated,

employer-owned labor camps in rural areas throughout the state. Most have no

access to personal cars and depend on their employers for transportation to

shopping and other town-based resources.



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      45.     Farmworkers working under H-2A guestworker visas are typically

paid by checks, which their employers cash for them or which they take to local

stores that offer check cashing services for a fee. Because of the migratory and

seasonal nature of their work, language barriers, and their low incomes, many

farmworkers in North Carolina lack access to credit cards and bank accounts and

conduct most transactions in cash. Because farmworkers live in rural areas, often

do not have their own transportation, lack computer access, do not speak English

proficiently, and work long hours, even those who do maintain bank accounts have

limited access to those accounts. Because H-2A guestworkers and most other

migrant farmworkers live in North Carolina temporarily, they are unlikely to have

local bank accounts.

      46.     Farmworkers’ transient jobs and limited access to banking present

many obstacles to their ability to make recurring payments, including elective

weekly payments like union dues. Indeed, agricultural producers commonly

deduct—sometimes legally and sometimes not—the costs of items like meals,

tools, or repayments for loans, directly from their employees’ wages to ensure that

payments for regularly furnished items are consistently and reliably made.

      47.     Under the North Carolina Wage and Hour Act, N.C. Gen. Stat. § 95-

25.8(a)(2), deduction and diversion of wages elected by the employee for his or her

benefit, such as union dues or donations to charities, is lawful if the amount or rate

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of the proposed deduction is known and agreed upon in advance and the employer

has written authorization from the employee which (i) is signed on or before the

payday(s) for the pay period(s) from which the deduction is to be made; (ii)

indicates the reason for the deduction; and (iii) states the actual dollar amount or

percentage of wages which shall be deducted from one or more paychecks.

      48.     When farmworkers decide to join FLOC, they usually execute a

written authorization, compliant with N.C. Gen. Stat. § 95-25.8, requesting that

their employer deduct 2.5% of their weekly wages and directly divert such funds to

FLOC for the payment of union dues. These authorizations for direct payroll

deductions of dues are commonly known as “dues checkoffs.”

      49.     Under North Carolina law applicable to all industries for decades,

union dues may only be deducted from the pay of workers who individually and

voluntarily agree to such deductions. See id; N.C. Gen. Stat. § 95-82.

      50.     Under North Carolina law, workers who authorize dues checkoffs

retain the right to withdraw that authorization if they change their mind about

union membership. See N.C. Gen. Stat. § 95-25.8(a)(2).

      51.     Because of FLOC’s limited institutional resources, the size and

geographic dispersion of FLOC’s North Carolina membership, and the fact that

most FLOC members lack ready access to banking and credit cards, FLOC relies

heavily on its members’ elective dues payments — deducted from their wages and

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transferred to FLOC pursuant to N.C. Gen. Stat. § 95-25.8 — to sustain its

organizing and advocacy work in North Carolina.

       52.     H-2A guestworkers in the state live in employer provided housing

spread out over approximately 1,000 labor camps. FLOC does not have the

resources and staff to collect dues each week from each and every one of its

approximately 2,000 dues-paying members located in North Carolina at a given

time. To do so would require FLOC staff to make in-person visits to members’

labor camp housing during non-working hours.

       53.     Farmworkers’ work days are often long. During the height of the

season, workers are often in the field from sunrise to sunset Monday to Friday, and

perform at least half a day’s work on Saturday. During the busiest part of the

season, farmworkers sometimes work on Sundays. Farmworkers usually spend

their limited time off doing chores such as laundry and grocery shopping.

       54.     FLOC currently has four full time staff members and one part time

staff member working throughout the state. Its membership is widely dispersed,

with members located in far western, eastern, southern, and northern sections of

the state.

       55.     Because the Farm Act prohibits agreements by agricultural producers

to honor employees’ requests for union dues to be deducted from their payroll,

FLOC is currently unable to enter into any new agreements with agricultural

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producers that provide for such dues checkoffs. This severely harms FLOC’s

efforts to join new members. In addition, FLOC will be unable to collect dues from

most of its current members once its existing CBAs expire.

      56.     By preventing FLOC from settling litigation or anticipated litigation

as a party, from securing recognition as a bargaining representative in settlements

by FLOC members, or from obtaining CBAs in settlements entered into by FLOC

members, the Farm Act significantly hinders FLOC’s ability to advance and

publicize its members’ interests through litigation.


Events Leading to Enactment of the Farm Act

      57.     In the past fifteen years, FLOC has significantly increased its

membership in North Carolina and won CBAs covering more of the state’s

agricultural workforce, including approximately 50% of the H-2A workers in

North Carolina. It has also succeeded in conducting highly publicized campaigns

to pressure agricultural corporations and producers to negotiate with workers for

better working conditions.

      58.     In 2004, FLOC won a CBA with the North Carolina Grower’s

Association (NCGA) that covered nearly 7,000 of the state’s H-2A workers.

      59.     In 2011, FLOC and the non-profit organization Oxfam America

jointly issued “A State of Fear: Human Rights Abuses in North Carolina’s Tobacco



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Fields,” a highly publicized report that detailed dangerous working conditions in

the state’s tobacco fields.

      60.     In 2012, after a six year long campaign, the major tobacco corporation

Reynolds American, Inc. finally agreed to meet with FLOC leaders to discuss

working conditions for North Carolina tobacco workers.

      61.     Throughout the last decade, FLOC members, with the support of their

union, have brought numerous claims under the Fair Labor Standards Act and

Migrant and Seasonal Agricultural Worker Protection Act against several North

Carolina agricultural producers seeking recovery for wage underpayment and other

violations. Such suits have led to recovery of significant amounts of unpaid wages

for hundreds of workers, as well as entry into a CBA as part of a settlement that

occurred in the course of court-mandated mediation in Agustina Velasquez et al. v.

Burch Equipment, LLC, et al., Civ. Action 7:14-CV-303-FL (E.D.N.C., Compl.

filed Dec. 31, 2014).

      62.     On February 23, 2016, FLOC members, including Plaintiff Alvarado

Hernandez, filed a class action suit against State Senator Brent Jackson and his

company, Jackson Farming, for wage theft. The case, styled Sanchez Rodriguez, et

al. v. Jackson Farming Company of Autryville, Civ. Action 7:16-CIV-28-D

(E.D.N.C.), ended in a court-mediated settlement in September 2016. The



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settlement was preliminarily approved on January 20, 2017 and received final

approval on July 11, 2017.

      63.     As FLOC has increased its membership in North Carolina and

expanded the number of workers covered by union agreements, and as its members

have been involved in well-publicized litigation, FLOC’s organizing drives have

been met with considerable backlash by the North Carolina Farm Bureau, a trade

group representing the interests of agricultural producers in the state, and some

agricultural producers.

      64.     As part of this backlash, some agricultural producers and their trade

group have successfully pushed for legislation in an attempt to obstruct FLOC’s

efforts to improve working conditions for farmworkers in the state.

      65.     In 2013, shortly after FLOC had convinced Reynolds American, Inc.

to meet with some of its members to discuss working conditions in North Carolina

tobacco fields, grower interest groups successfully lobbied for state legislation

targeting FLOC’s ability to use market-based pressure to improve conditions for

farmworkers. The General Assembly passed an “Agricultural Right to Work

Provision,” which stated that “[a]ny provision that directly or indirectly conditions

the purchase of agricultural products or the terms of an agreement for the purchase

of agricultural products upon an agricultural producer’s status as a union or

nonunion employer or entry into or refusal to enter into an agreement with a labor

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union or labor organization is invalid and unenforceable as against public policy in

restraint of trade or commerce in the State of North Carolina.” 2013 North

Carolina Laws S.L. 2013-413 (H.B. 74), § 15, codified as N.C. Gen. Stat. § 95-

79(b).

         66.     This legislation was intended to undermine FLOC’s ability to engage

with corporate purchasers of agricultural products and secure agreements that

would guarantee expanded labor rights in the industry.

         67.     In April 2017, North Carolina Senators Brent Jackson, Norman

Sanderson, and Andrew Brock introduced the Farm Act, a four page bill, in the

North Carolina General Assembly. In its original incarnation, the law did not

address farm labor issues, focusing on property matters such as bonding for

handlers of agricultural products, agricultural zoning, classification of agricultural

land, and the laws governing abandoned livestock. The bill was passed in the

Senate on June 12, 2017.

         68.     Throughout May and up to late June 2017, the Farm Act was

expanded to include sections addressing matters such as the modernization of laws

governing forest rangers, forest practice guidelines, agritourism, and regulatory

exemptions for agricultural buildings and vehicles.

         69.     On June 28, 2017, after the Farm Act had already passed the second

of three required readings in the House on the previous day, Representative Jimmy

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Dixon (also an owner of Jimmy Dixon Farms in Duplin County), introduced

Amendment A3, which added Section 20.5 to the Farm Act.

       70.     Section 20.5 proposed to amend N.C. Gen. Stat. § 95-79(b), to add the

text underlined below:

                    (b) Any provision that directly or indirectly conditions the
                    purchase of agricultural products, products or the terms of
                    an agreement for the purchase of agricultural products, or
                    the terms of an agreement not to sue or settle litigation upon
                    an agricultural producer's status as a union or nonunion
                    employer or entry into or refusal to enter into an agreement
                    with a labor union or labor organization is invalid and
                    unenforceable as against public policy in restraint of trade
                    or commerce in the State of North Carolina. Further,
                    notwithstanding G.S. 95-25.8, an agreement requiring an
                    agricultural producer to transfer funds to a labor union or
                    labor organization for the purpose of paying an employee’s
                    membership fee or dues is invalid and unenforceable
                    against public policy in restraint of trade or commerce in
                    the State of North Carolina.


       71.     Section 20.5 specifies that it “is effective when it becomes law and

applies to agreements and settlements entered into, renewed, or extended on or

after that date.”

       72.     Section 20.5 was introduced on the House floor around 4:47 PM on

June 28, 2017, just prior to the third and final vote to adopt the Farm Act. By that

point, the Farm Act had already undergone five public hearings. Because the

amendment was introduced on the House floor and maintained in the final


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conference committee report around 11:00 PM that evening, there was never an

opportunity for the public to comment during consideration of the amendment.

      73.     Debate in the General Assembly regarding the amendment lasted less

than ten minutes. Representative Dixon introduced the amendment on the House

floor, explaining that:

              This amendment — there are various organizations that for
              some time over the last couple of weeks had been looking for
              the right opportunity but weren’t necessarily going to do it, here
              in the Farm Act, although I think it’s very applicable. But that’s
              an explanation of why at this point that we’re offering an
              amendment, Farm Bureau and other farm organizations. And
              over the last couple of days I’ve heard from a lot of farmers
              across the state expressing concerns about this and wishing that
              there was a vehicle to do what this amendment does. It
              strengthens our Right to Work statutes by declaring certain
              agreements involving agriculture producers are against the
              public policy of North Carolina. The amendment would
              prohibit the use of litigation to force farms to unionize and
              ensure farmers are not required to collect dues for their
              employees. This reduces a regulatory burden on farms that is
              not required under federal law and is completely within the
              State’s purview to regulate.

      74.     When asked by one representative why such a measure would be

necessary given the state’s strong right to work laws, Representative Dixon

claimed:

              Because of continued harassment from out of state there seems
              to be a growing wave of folks that are interested in farm labor.
              It’s--some consider it low-hanging fruit to do things like that,
              and it’s just a general tendency for an increase in activity that
              we consider to be harassment.

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      75.     When asked by the same representative whether he was afraid of

farmworker unions organizing, Representative Dixon replied:

              Sir, I’m not afraid of anything, and I understand that food is
              very important. And so, no, we’re not afraid, but an ounce of
              prevention is worth a pound of cure. And there are predatory
              folks that make a good living coming around and getting people
              to be dissatisfied, and a few of us farmers are getting a little bit
              tired of it and we want some properly measured priority so that
              we can continue to feed you.

      76.     Also on June 28, Representative Dixon was quoted in a newspaper

article stating that “the N.C. Farm Bureau and other farm organizations requested

the limits on unions. Farmers are under undue pressure to collect union dues and

sign union contracts.”

      77.     On June 28, the amendment passed the House. Because the House and

Senate versions of the Farm Act differed, a conference committee was appointed

that same night. Representative Dixon chaired the House Conference Committee

for the Farm Act and Senator Brent Jackson, owner of Jackson Farming Company

and one of the defendants in the 2016 wage theft suit brought by FLOC members,

chaired the Senate Conference Committee for the bill. The Conference Committee

completed its report the same evening, incorporating the amendment, and it was

immediately adopted by both chambers.

      78.     The Farm Act was ratified by the General Assembly on June 29, 2017,

and signed by Governor Cooper on July 12, 2017.

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      79.     In the five years preceding the Farm Act’s passage, North Carolina’s

Governors and General Assembly have also repeatedly proposed, and sometimes

approved, numerous laws or policies targeting non-citizens in the state. In the same

session during which the General Assembly considered and passed the Farm Act, it

also considered no fewer than four bills that would have subjected immigrants

living and working in the state to increased restrictions, penalties, or scrutiny.


Effects of the Farm Act on FLOC and its Members

      80.     Since at least 1997, FLOC has been the only farmworker union

organizing and representing farmworkers in North Carolina, which means it is the

only union impacted by the Farm Act’s restrictions.

      81.     The Farm Act creates unique and severe hardships for Plaintiff FLOC

and its members in North Carolina, including Plaintiffs Toledo Vences and

Alvarado Hernandez.

      82.     Because of the size and geographic dispersion of FLOC’s North

Carolina membership, as well as its own limited resources and staff, FLOC lacks

the resources and ability to collect weekly dues directly from each of its

approximately 2,000 members who are working in the state at a given time.

      83.     Union member dues constitute approximately 50-60% of FLOC’s

annual budget. Timely and consistent collection of dues is essential to FLOC’s


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ability to administer CBAs and provide services to its members. The Farm Act guts

FLOC’s ability to maintain this essential and irreplaceable source of funding.

      84.     Because they generally lack ready access to bank accounts, credit

cards, and other means of making automatic recurring payments, FLOC members,

including Plaintiffs Toledo Vences and Alvarado Hernandez, rely on dues

checkoffs to timely and consistently pay their FLOC dues.

      85.     Without the benefit of dues checkoffs and given their lack of access to

banking in North Carolina, FLOC members, including Plaintiffs Toledo Vences

and Alvarado Hernandez, will have to set aside cash for payment of dues to FLOC.

As a practical matter, this will require members to hold cash on their person or in

their personal effects in communal labor camp housing for weeks at a time,

exposing them to significant danger of robbery or theft.

      86.     Because of the Farm Act, FLOC is currently unable to grow its union

membership by entering into new agreements with agricultural producers for dues

checkoffs. FLOC members are unable to benefit from dues checkoffs and risk

losing their ability to associate with FLOC and join in collective activity to

improve their well-being and the well-being of other farmworkers. North Carolina

farmworkers who are not currently represented by FLOC, but wish to join, are

limited in their abilities to gain access to union representation.



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      87.     When FLOC’s existing dues checkoff agreements expire in 2019 and

2020, the Farm Act will force FLOC to divert most of its staff resources to dues

collection or other fundraising efforts, gutting its ability to administer CBAs, to

assist with member grievances, and to organize new workers into the union. As a

result, FLOC will be forced to provide less personal assistance to members like

Plaintiffs Toledo Vences and Alvarado Hernandez, who have benefitted

individually from FLOC’s assistance and advocacy with workplace grievances,

work-related injuries, wage theft, and other legal matters. North Carolina

farmworkers who have not yet had an opportunity to meet with FLOC

representatives and learn about the benefits of union membership will have fewer

opportunities for these organizing contacts.

      88.     By   invalidating    and   rendering    unenforceable     all   settlement

agreements that stipulate to recognition of FLOC or an agreement between FLOC

and agricultural producers, the Farm Act deprives FLOC and its members the

ability to secure settlement provisions that they believe are in their best interests.

      89.     By   invalidating    and   rendering    unenforceable     all   settlement

agreements between FLOC and agricultural producers, the Farm Act strips from

FLOC the right and ability to settle litigation.




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                              CLAIMS FOR RELIEF

                           COUNT ONE
   VIOLATION OF FREE EXPRESSION AND FREE ASSOCIATION
 RIGHTS UNDER THE FIRST AND FOURTEENTH AMENDMENTS TO
            THE UNITED STATES CONSTITUTION
                          42 U.S.C. § 1983
          On Behalf of All Plaintiffs Against All Defendants

      90.     The foregoing allegations are repeated and incorporated as though

fully set forth herein.

      91.     Plaintiffs assert a claim pursuant to 42 U.S.C. § 1983 for violation of

the free expression and free association rights protected under the First and

Fourteenth Amendments to the U.S. Constitution. Plaintiff FLOC asserts this claim

on behalf of itself and its members.

      92.     In the following paragraphs, references to the First Amendment

include the First Amendment as applied to the states through the Fourteenth

Amendment.

      93.     FLOC is an expressive association that seeks to promote the interests

of farmworkers.

      94.     FLOC engages in expression, including political advocacy, to advance

the interests of its members and the interests of farmworkers generally.




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      95.     FLOC participates in and assists its members in participating in

litigation to express and advance the interests of its members, and the interests of

farmworkers generally.

      96.     FLOC relies on its members’ contributions, made through dues

checkoffs, to maintain the association and to engage in protected expression.

      97.     FLOC members, including Plaintiffs Toledo Vences and Alvarado

Hernandez, wish to associate with FLOC, and with other farmworkers who

participate in FLOC, in order to express their views and interests.

      98.     FLOC members, including Plaintiffs Toledo Vences and Alvarado

Hernandez, wish to contribute to FLOC as they previously have, by dues

checkoffs. Other methods for arranging payments would be extremely burdensome

for Plaintiffs, subjecting them to great expense and inconvenience, and risk to their

property and personal safety.

      99.     The Farm Act imposes special burdens on protected expression and

association by invalidating dues checkoff agreements that would ensure FLOC

receives direct contributions authorized by individual members.

      100. By preventing FLOC, and only FLOC, from entering into dues

checkoff agreements, the Farm Act engages in speaker-based discrimination.

      101. The Farm Act imposes special burdens on protected expression and

union association by prohibiting settlement agreements and agreements not to sue

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that are conditioned “upon an agricultural producer’s status as a union or nonunion

employer,” or “upon an agricultural producer’s . . . entry into or refusal to enter

into an agreement with a labor union or labor organization.”

      102. The Farm Act effectively prevents FLOC from expressing and

advancing the interests of its members, and North Carolina farmworkers generally,

by making it impossible for FLOC to enter into, or benefit from, settlement

agreements or agreements not to sue. Because these restrictions on litigation-

related expression and association apply only to farmworkers’ unions — i.e.,

FLOC — they amount to speaker-based discrimination.

      103. By selectively burdening farmworkers’ ability to associate and

express their interests through a labor union, the Farm Act burdens speech based

on its content and viewpoint.


                           COUNT TWO
VIOLATION OF RIGHTS UNDER THE EQUAL PROTECTION CLAUSE
  OF THE FOURTEENTH AMENDMENT TO THE UNITED STATES
                         CONSTITUTION
                          42 U.S.C. § 1983
          On Behalf of All Plaintiffs Against All Defendants

      104. The foregoing allegations are repeated and incorporated as though

fully set forth herein.




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      105. Plaintiffs assert a claim pursuant to 42 U.S.C. § 1983 for violation of

the Equal Protection Clause of the Fourteenth Amendment to the U.S.

Constitution. Plaintiff FLOC asserts this claim on behalf of itself and its members.

      106. The Farm Act strips rights and privileges from a workforce that is

over 90% Latino, over 90% non-citizens, and largely of Mexican descent.

      107. The Farm Act solely targets and impacts Plaintiff FLOC, a union

whose membership is nearly 100% Latino and over 90% comprised of Mexican H-

2A guestworkers.

      108. As migrant farmworkers, Plaintiffs Toledo Vences and Alvarado

Hernandez and the membership of FLOC are members of a discrete and insular

group that lacks political power, in which disfavored racial and ethnic minorities

have been and continue to be overrepresented, and which has been historically

subject to and continues to be disproportionately subject to de jure and de facto

discrimination, labor exploitation, poverty, human trafficking, debt peonage, and

involuntary servitude.

      109. The Farm Act deprives Plaintiff FLOC of the equal protection of the

laws based on the race, national origin, alienage, and/or migrant farmworker status

of its members and on the basis of the race, national origin, alienage, and/or

migrant farmworker status of the workforce it is dedicated to organizing and

assisting.

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      110. The Farm Act deprives Plaintiffs Toledo Vences and Alvarado

Hernandez of the equal protection of the laws based on their race, national origin,

alienage, and/or migrant farmworker status.

      111. The Farm Act hinders the exercise of Plaintiffs’ fundamental First

Amendment rights to speech and association based on the identity of the speakers

and the content and viewpoint of their speech.

      112. The Farm Act invidiously targets North Carolina farmworkers and

their sole union and imposes legal disabilities and disadvantages not imposed on

other workers or unions in the state.

      113. Because the purposes of the Farm Act are to create obstacles to

constitutionally-protected speech and association, to effectuate invidious

discrimination based on race, national origin, alienage and/or migrant farmworker

status of FLOC members, and to punish and silence FLOC, the conceivable state

interests supporting the Farm Act are not compelling, important, or legitimate.

      114. There is no rational, substantial, or narrowly tailored relationship

between any conceivable state interest and the Farm Act’s abolition of Plaintiffs’

pre-existing legal rights to voluntary dues checkoffs and to negotiate settlement

terms that stipulate an agreement with FLOC.




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                         COUNT THREE
 VIOLATION OF RIGHTS UNDER 42 U.S.C. § 1981 TO CONTRACT, TO
         BE PARTIES, AND TO LEGAL PROCEEDINGS
                          42 U.S.C. § 1983
          On Behalf of All Plaintiffs Against All Defendants


      115. The foregoing allegations are repeated and incorporated as though

fully set forth herein.

      116. Plaintiffs assert a claim pursuant to 42 U.S.C. § 1983 for violations of

42 U.S.C. § 1981. Plaintiff FLOC asserts this claim on behalf of itself and its

members.

      117. The Farm Act strips the rights to make and enforce contracts, to sue,

be parties, and to the full and equal benefit of all laws and proceedings for the

security of persons and property as is enjoyed by white citizens from a workforce

and a union that are both over 90% Latino, over 90% non-citizens, and largely of

Mexican ancestry.

      118.    The Farm Act unlawfully deprives Plaintiff FLOC of the rights to

make and enforce contracts, to sue, to be parties, and to the full and equal benefit

of all laws and proceedings for the security of persons and property as is enjoyed

by white citizens based on the race, ethnicity, and/or alienage of its members and

on the basis of the race, ethnicity and/or alienage of the workforce it is dedicated to

organizing and assisting.


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      119. The Farm Act unlawfully deprives Plaintiffs Toledo Vences and

Alvarado Hernandez of the rights to make and enforce contracts, to sue, to be

parties, and to the full and equal benefit of all laws and proceedings for the security

of persons and property as is enjoyed by white citizens based on their race,

ethnicity, and/or alienage.


                         COUNT FOUR
VIOLATION OF PROHIBITION ON BILLS OF ATTAINDER, ART. 1, § 10
           OF THE UNITED STATES CONSTITUTION
                         42 U.S.C. § 1983
           On Behalf of Plaintiff FLOC Against All Defendants

      120. The foregoing allegations are repeated and incorporated as though

fully set forth herein.

      121. Plaintiff FLOC asserts a claim pursuant to 42 U.S.C. § 1983 for

violation of the Bill of Attainder Clause of Article 1, Section 10 of the United

States Constitution. Plaintiff FLOC asserts this claim on behalf of itself and its

members.

      122. The Farm Act violates the Bill of Attainder Clause because it

impermissibly targets and punishes Plaintiff FLOC, the only farmworker union in

North Carolina, by depriving it of the ability to enter into dues checkoff

agreements.




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         123. The Farm Act additionally violates the Bill of Attainder Clause of

Article 1, Section 10 of the United States Constitution because it impermissibly

singles out and punishes Plaintiff FLOC and its members by depriving FLOC of

the ability to enter into any settlement agreements with agricultural producers as a

party to litigation, as well as the ability to enter into agreements with agricultural

producers pursuant to stipulations in another party’s settlement agreement.

         124. The Farm Act constitutes an unconstitutional Bill of Attainder by

punishing Plaintiff FLOC and its members for its organizing activity, advocacy for

the rights of farmworkers, and purported acts of “harassment” without a judicial

trial.


                                   PRAYER FOR RELIEF

               WHEREFORE, Plaintiffs respectfully pray that the Court grant the

following relief:

         (a) Preliminarily enjoin enforcement of Section 20.5 of the Farm Act;

         (b) Order Defendants to immediately notify their officers, agents,

             employees, and other persons in active concert or participation with

             them, including the administrative and judicial officials of all state

             courts, if a preliminary injunction is entered;




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(c) Enter a declaratory judgment stating that Section 20.5 violates

    Plaintiffs’ free speech and free association rights under: the First and

    Fourteenth Amendments of the U.S. Constitution; the Equal Protection

    Clause of the Fourteenth Amendment of the U.S. Constitution; 42

    U.S.C. § 1981; and the Bill of Attainder Clause (Article I, Section 10) of

    the U.S. Constitution.

(d) Enter a permanent injunction enjoining the enforcement of Section 20.5

    of the Farm Act;

(e) Order Defendants to immediately notify their officers, agents,

    employees, and other persons in active concert or participation with

    them, including the administrative and judicial officials of all state

    courts, if a permanent injunction is entered;

(f) Award Plaintiffs their reasonable attorneys’ fees and costs pursuant to

    42 U.S.C. § 1988 and 28 U.S.C. § 1920 and as otherwise permitted by

    law; and

(g) Order such other relief as this Court deems just and equitable.




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Respectfully submitted this 15th day of November, 2017,


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